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   United States of America
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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:15-CR-0189 GEB
12                                Plaintiff,             STIPULATION REGARDING EXCLUDABLE
                                                         TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                          v.                           [PROPOSED] FINDINGS AND ORDER
14   JEREMY RAY WARREN,
15                                Defendant.
16

17                                               STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

19 through defendant’s counsel of record, hereby stipulate as follows:

20          1.      By previous order, this matter was set for status on April 26, 2019.

21          2.      By this stipulation, defendant now moves to continue the status conference until May 10,

22 2019, and to exclude time between April 26, 2019, and May 10, 2019, under Local Code T4.

23          3.      The parties agree and stipulate, and request that the Court find the following:

24                  a.     The government has produced approximately 1,300 pages of discovery and 26

25          audio files.

26                  b.     Counsel for the defendant needs additional time to review the discovery, conduct

27          investigation, interview potential witnesses, meet with the defendant, and review the defendant’s

28          legal options. The parties are also engaged in negotiations that might result in a resolution of this


      STIPULATION REGARDING EXCLUDABLE TIME               1
30    PERIODS UNDER SPEEDY TRIAL ACT
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 1          matter.

 2                    c.     Counsel for the defendant believes that failure to grant the above-requested

 3          continuance would deny her the reasonable time necessary for effective preparation, taking into

 4          account the exercise of due diligence.

 5                    d.     The government does not object to the continuance.

 6                    e.     Based on the above-stated findings, the ends of justice served by continuing the

 7          case as requested outweigh the interest of the public and the defendant in a trial within the

 8          original date prescribed by the Speedy Trial Act.

 9                    f.     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

10          et seq., within which trial must commence, the time period of April 26, 2019 to May 10, 2019,

11          inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]

12          because it results from a continuance granted by the Court at defendant’s request on the basis of

13          the Court’s finding that the ends of justice served by taking such action outweigh the best interest

14          of the public and the defendant in a speedy trial.

15          4.        Nothing in this stipulation and order shall preclude a finding that other provisions of the

16 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

17 must commence.

18          IT IS SO STIPULATED.

19
      Dated: April 26, 2019                                     MCGREGOR W. SCOTT
20                                                              United States Attorney
21
                                                                /s/ MICHAEL M. BECKWITH
22                                                              MICHAEL M. BECKWITH
                                                                Assistant United States Attorney
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24
      Dated: April 26, 2019                                     /s/ Shari Rusk
25                                                              Shari Rusk
26                                                              Counsel for Defendant
                                                                JEREMY RAY WARREN
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 3                                      FINDINGS AND ORDER

 4        IT IS SO FOUND AND ORDERED.

 5        Dated: April 26, 2019

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     STIPULATION REGARDING EXCLUDABLE TIME      3
30   PERIODS UNDER SPEEDY TRIAL ACT
